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                   EXHIBIT 23
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                                                                   Page 1

 1                      IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF ALABAMA
 2                               NORTHERN DIVISION
 3
           Rev. Paul A. Eknes-Tucker,               )
 4         et al.,                                  )
                                                    )
 5                  Plaintiffs,                     )      Case No.
           and                                      )2:22-cv-00184-LCB-SRW
 6                                                  )
           UNITED STATES OF AMERICA,                )
 7                                                  )
                    Plaintiff-Intervenor,           )
 8                                                  )
           v.                                       )
 9                                                  )
           Steve Marshall, et al.,                  )
10                                                  )
                    Defendants.                     )
11
12
                          REMOTE VIDEOTAPED DEPOSITION OF
13
                              ANGELA THOMPSON, M.D.
14
                               Thursday, May 2, 2024
15                            9:06 a.m. to 10:03 a.m.
16                                 Pages 1 to 36
17
18
19
20
21
22
23
24          JOB NO.:            ATL 6684648
25          REPORTED BY:        Merilee Johnson, RDR, CRR, CRC, RSA

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                                                             Page 2                                                          Page 4
 1             APPEARANCES
        (All appearing remotely via videoconference)                   1         (PROCEEDINGS, 05/02/2024, 9:06 a.m.)
 2
     ON BEHALF OF THE PRIVATE PLAINTIFFS:
                                                                       2           COURT REPORTER: We're on record. If I
 3                                                                     3   could have all the parties state their appearances
     KING & SPALDING LLP
 4   BY: Abby L. Parsons, Esq.                                         4   and who they represent for the record, please.
        1100 Louisiana Street
 5      Suite 4100                                                     5           MS. PARSONS: Good morning. My name is
        Houston, Texas 77002
 6      Phone: (713) 751-3200                                          6   Abby Parsons. I'm from the law firm of King &
        Email: AParsons@kslaw.com
 7
                                                                       7   Spalding. I'm here on behalf of the private
     - and -                                                           8   plaintiffs.
 8
     GLBTQ LEGAL ADVOCATES & DEFENDERS                                 9           MR. McKAY: Good morning. I'm Charles
 9   BY: Courtney Dougherty, Esq.
       18 Tremont                                                     10   McKay on behalf of Attorney General Marshall and
10     Suite 950
       Boston, Massachusetts 02108                                    11   state defendant.
11     Phone: (617) 426-1350
       Email: CDougherty@glad.org
                                                                      12           MS. MURPHY: Good morning. My name is
12                                                                    13   Amie Murphy, and I'm here on behalf of the United
13   ON BEHALF OF ATTORNEY GENERAL STEVE MARSHALL and
     STATE DEFENDANTS:                                                14   States, intervenor plaintiff in this case.
14
     ALABAMA ATTORNEY GENERAL'S OFFICE                                15                ANGELA THOMPSON, M.D.
15   BY: Charles McKay, Esq.
       501 Washington Avenue                                          16   duly affirmed, was examined and testified as follows:
16     Montgomery, Alabama 36104
       Phone: (334) 242-7300
                                                                      17                  EXAMINATION
17     Email: Charles.McKay@AlabamAG.gov                              18   BY MS. PARSONS:
18
     ON BEHALF OF THE UNITED STATES INTERVENOR-PLAINTIFF:             19      Q. Good morning, Dr. Thompson.
19
     U.S. DEPARTMENT OF JUSTICE, CIVIL RIGHTS DIVISION,               20      A. Good morning.
20   and FEDERAL COORDINATION AND COMPLIANCE SECTION
     BY: Amie Murphy, Esq.                                            21      Q. Can you state and spell your full name for
21      150 M Street NE
        Washington, D.C. 20002
                                                                      22   the record, please.
22      Phone: (202) 353-1285                                         23      A. Angela, A-n-g-e-l-a, Thompson,
        Email: Amie.Murphy2@usdoj.gov
23                                                                    24   T-h-o-m-p-s-o-n.
24   ALSO APPEARED:
25     Catherine O'Connor, King & Spalding                            25      Q. And where are you presently employed?
                                                             Page 3                                                          Page 5
 1                       INDEX                                       1        A. I am working with OB Hospitalist Group and
 2                                                                   2     Mayo Clinic.
 3    WITNESS: ANGELA THOMPSON, M.D.                        PAGE
                                                                     3        Q. In what city do you reside?
 4    Examination by Ms. Parsons....................... 4
 5    Examination by Mr. McKay......................... 33
                                                                     4        A. Rochester, Minnesota.
 6    Further Examination by Ms. Parsons............... 34           5        Q. Is that where you're testifying from this
 7                                                                   6     morning?
 8    CAUTION or INSTRUCTIONS NOT TO ANSWER: (None.)                 7        A. Correct.
 9                                                                   8        Q. What is your role in this case, as you
10    SPECIAL INSTRUCTIONS or REQUESTS: (None.)
                                                                     9     understand it?
11
12                  EXHIBITS
                                                                    10        A. As I understand it, I am an
13                                                                  11     obstetrician-gynecologist expert witness.
14    EXHIBITS MARKED AND FIRST REFERRED TO:                   PAGE 12        Q. And in what field are you offering
15    Exhibit 1 Expert Report of Angela C.E.              8         13     testimony in this case?
                Thompson, M.D., MPH, FACOG                          14        A. Gynecology and obstetrics.
16                                                                  15        Q. When were you first contacted about this
            (Exhibit to be attached to transcript.)
                                                                    16     case?
17
18    REPORTER'S NOTE: All quotations from exhibits are             17        A. As I recall, it was in 2023. February, I
      reflected in the manner in which they were read               18     believe.
19    into the record and do not necessarily indicate an            19        Q. Do you recall who contacted you,
      exact quote from the document.                                20     Dr. Thompson?
20                                                                  21        A. I -- yes, it was Barrett Bowdre.
21
                                                                    22        Q. Have you ever served as an expert witness
22
23
                                                                    23     in a case before?
24                                                                  24        A. As an expert witness? No.
25                                                                  25        Q. Have you ever been a part of a legal case

                                                                                                                 2 (Pages 2 - 5)
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 1    other than this one?                                       1   exhibit as Exhibit 1. And we'll pull it up on the
 2       A. For a private case, yes.                             2   screen. This is a copy of your expert report.
 3       Q. I don't need any details, but can you just           3            (Exhibit 1 was marked for
 4    generally tell us the subject matter of that               4            identification.)
 5    lawsuit?                                                   5      Q. All right, Dr. Thompson. I'm sharing my
 6       A. It was obstetrical and gynecology case               6   screen. Can you see the first page of the expert
 7    locally.                                                   7   report you gave in this case?
 8       Q. So just one prior proceeding you've ever             8      A. I'm able to see it, yes.
 9    been involved in?                                          9      Q. Okay. And I'm going to scroll all the way
10       A. Correct.                                            10   to your signature. I understand this is probably
11       Q. Did you have to testify in a court in that          11   going to make everybody nauseous.
12    proceeding?                                               12          All right. On page 61 of Exhibit 1 that
13       A. I did.                                              13   I've marked to the deposition, is this your
14       Q. And did you supply a deposition?                    14   signature on your expert report?
15       A. Yes.                                                15      A. It is.
16       Q. Have you ever been deposed other than that          16      Q. Okay. And that was dated May 19th of 2023?
17    deposition?                                               17      A. Correct.
18       A. There was a traffic -- traffic case years           18      Q. Great. I'm going to go all the way back up
19    ago, if I recall.                                         19   to the top.
20       Q. Okay. So you've -- so you've given two              20          All right. I'm directing you on this
21    depositions before this one?                              21   screen to paragraph 2 of your expert report, which
22       A. Correct.                                            22   is marked as Exhibit 1 to this deposition. This is
23       Q. I can give you just a few ground rules. It          23   just to refresh your recollection, but do you think
24    sounds like you've done this before but maybe not         24   this is an accurate summary of what you were asked
25    regularly.                                                25   to consider in this case, Dr. Thompson?
                                                       Page 7                                                         Page 9
  1         We're here today. Obviously you're under             1      A. Yes, that's accurate.
  2   oath, and you'd be testifying just like you would          2      Q. And -- so you're offering testimony about
  3   if you were in a courtroom. Do you understand              3   fertility considerations of what you refer to as
  4   that?                                                      4   "gender-affirming care," or GAC?
  5      A. Yes.                                                 5      A. Correct.
  6      Q. And Merilee's here taking down what                  6      Q. And I'm going to direct your attention now
  7   everybody says. So it helps her if you can let me          7   to paragraph 5, which spans page 3 and 4 of
  8   finish my questions, and then I'll make sure you           8   Exhibit 1. You refer to gender-affirming care or
  9   can finish your responses. Does that make sense?           9   GAC as the treatment -- as this treatment in -- in
 10      A. Yes.                                                10   question for minors, right?
 11      Q. Is there any reason this morning that               11      A. As it pertains to how the literature has
 12   you're aware of that you're not able to give true         12   defined it, yes.
 13   and accurate testimony today?                             13      Q. And just at a very high level, that would
 14      A. No reason.                                          14   consist of using puberty blockers followed by
 15      Q. If you ever need a break, please just let           15   cross-sex hormones?
 16   me know. I don't think this deposition's going to         16      A. Correct.
 17   be very long, but if you do need a break at any           17      Q. Have you personally provided
 18   time, I just ask that you finish your answer to my        18   gender-affirming care or GAC to anyone?
 19   question, and then we can take a break whenever you       19      A. I have not.
 20   need. Is that okay?                                       20      Q. Have you ever prescribed puberty blockers?
 21      A. Yes. Thank you.                                     21      A. I have not.
 22      Q. If I've ever asked a question that's                22      Q. Ever followed --
 23   unclear, you'll let me know that?                         23      A. Sorry. Can you clarify?
 24      A. Okay.                                               24      Q. Have you ever written a prescription for a
 25      Q. I'd like to introduce the first deposition          25   puberty-blocking treatment?

                                                                                                          3 (Pages 6 - 9)
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 1       A. Are you speaking specifically to --            1              Did I read that correctly?
 2             (Court reporter requested                   2           A. That's correct.
 3             clarification.)                             3           Q. So your practice does include female
 4       A. -- GnRH analog medication? Colloquially,       4        children; is that fair?
 5    those are termed as puberty blockers, but the        5                MR. McKAY: Object to the form.
 6    medication can be used in adult patients for other   6        BY MS. PARSONS:
 7    indications. I just -- I would -- I just need        7           Q. Dr. Thompson, from time to time your
 8    clarification on the specifics of the question, if   8        counsel can object. Unless he instructs you not to
 9    that's okay.                                         9        answer, you're still obligated to give me an answer
10       Q. Absolutely. And thank you for raising that 10           to my question if you understand it.
11    clarification. Let me try another question.         11           A. Okay. My practice currently is taking care
12           Have you ever prescribed GnRHa medication 12           of patients in the acute hospital setting. But,
13    for an adolescent?                                  13        yes, I have provided care to early pubertal
14       A. For an adolescent, no.                        14        adolescents.
15       Q. Have you ever attempted to preserve the       15           Q. Okay. So you've -- you're presently not
16    fertility of a child in early puberty seeking       16        treating early pubertal females, but at some point
17    gender-affirming care?                              17        in your career you have; is that fair?
18       A. No.                                           18           A. Yes. And I do still treat adolescents,
19       Q. I know you asked for a clarification on my 19           yes.
20    prior question. Can you tell us when you've ever    20           Q. What do those -- what have those
21    prescribed GnRHa medication?                        21        adolescents come to you for treatment for?
22       A. In females, this medication can be used to    22           A. Gynecologic emergencies, pregnancy.
23    treat certain conditions of the female reproductive 23           Q. In your practice, what percentage would you
24    tract, such as endometriosis and uterine myomas,    24        estimate are nonadult patients?
25    which are also known as fibroids.                   25           A. I would say, you know, a substantial
                                                     Page 11                                                        Page 13
  1      Q. And in any of those cases that you                  1   portion. If I had to ascertain the prevalence
  2   prescribed GnRHa medication, none of those patients       2   of -- or the proportion of nonadults would be maybe
  3   had gender dysphoria?                                     3   25 to 30 percent.
  4      A. I don't treat gender dysphoria. I'm -- I'm          4      Q. And what definition of "nonadult" were you
  5   not aware.                                                5   applying in answering that question? What was your
  6            (Courtney Dougherty joined the                   6   age range?
  7            proceedings.)                                    7      A. Under the age of 18.
  8      Q. Okay, Dr. Thompson. I'd like to turn to             8      Q. And from your report, paragraph 14, when
  9   paragraph 14 of your report. Scroll there now.            9   you say "early puberty," what age range are you
 10         All right. In paragraph 14 you describe            10   thinking in that?
 11   the types of patients that you normally treat. Is        11      A. Early puberty is defined as entering into
 12   that fair?                                               12   Tanner Stage 2. That can occur between the ages of
 13      A. Correct.                                           13   8 years in females up to early adolescence -- 13,
 14      Q. And I -- I'll show you the whole paragraph.        14   14 years of age.
 15   Can you see the entire 14 on my --                       15      Q. All right. So applying that -- that
 16      A. Yes. Yes.                                          16   concept of entering Tanner Stage 2, what percentage
 17      Q. Okay. And at any point, if you need me to          17   of your patient population are you treating in that
 18   scroll up or down so can you see something, just         18   age range?
 19   let me know. Okay?                                       19      A. At any time or just currently?
 20         At the beginning of paragraph 14 in                20      Q. Let's start with currently.
 21   Exhibit 1, I'd like to ask you -- you say, "I            21      A. Currently -- I can't recall.
 22   provide care, including medical and surgical care,       22      Q. You can't recall any -- any current
 23   for female patients at all areas of the                  23   patients that are of the Tanner Stage 2 age range?
 24   reproductive life span, from early puberty to            24            MR. McKAY: Object to form.
 25   postmenopausal."                                         25      A. Yeah, I can't recall.

                                                                                                      4 (Pages 10 - 13)
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 1      Q. Would it be less than the 25 to 35 percent        1   the...
 2   estimate you gave me before for that whole range?       2      Q. Sorry. It's not intended to be a trick
 3      A. Yeah. Yes, it would. That's correct.              3   question. Paragraph 14, you say you provide care
 4      Q. Okay. And then I think we started with            4   for female patients.
 5   your current patient population. But I think you        5      A. Yes.
 6   said, you know, over the course of your -- your         6      Q. I'm just making sure you don't provide care
 7   career, what percentage of the patients that you've     7   for male patients in any way.
 8   treated fall into that entering-Tanner-Stage-2 age      8      A. Male patients. Okay. So sex at birth is
 9   range?                                                  9   male?
10      A. It's pretty small. I would say it's a            10      Q. Correct.
11   small proportion. I can't say off the top of my        11      A. I would say I have treated male
12   head what it would be, but it's small just because     12   sex-at-birth patients in the past. A single.
13   it overlaps a lot with the pediatric care.             13      Q. So just one -- one patient that was -- sex
14      Q. Is it fair to say it would also be smaller       14   at birth was male; is that right?
15   than that 25 to 35 percent range that you gave me      15      A. Correct.
16   before?                                                16      Q. I'm going to turn to your report, which
17      A. Yes, that's correct.                             17   we've marked as Exhibit 1, to paragraph 15. Do you
18      Q. All right. I'd like to look a little             18   see that on your screen, Dr. Thompson?
19   further down in the same paragraph 14 of Expert        19      A. Yes.
20   Report Exhibit 1 that we've been looking at. Part      20      Q. I'd like to ask you about the first
21   of the patient population you identified is you've     21   sentence in paragraph 15. And I'll read it. "I
22   treated females with differences in sex                22   have treated patients who identify as transgender
23   development.                                           23   in the context of pregnancy and birth."
24         Do you see that?                                 24          Did I read that correctly?
25      A. Yes.                                             25      A. That's correct.
                                                  Page 15                                                    Page 17
 1      Q. What do you mean by that?                      1          Q. How many patients have you treated that
 2      A. There are certain conditions that occur        2      fall within this sentence?
 3   during the developmental processes in utero that     3          A. Two.
 4   lead to differences in the sexual differentiation    4                MR. McKAY: Object to form.
 5   of the embryo and fetus.                             5      BY MS. PARSONS:
 6      Q. So you're referring to physical differences    6          Q. All right. Can you give me an approximate
 7   in the person's body?                                7      date range when you were treating these two
 8      A. It can be physical.                            8      patients that were -- that identified as
 9      Q. What else can they include?                    9      transgender in the context of pregnancy and birth?
10      A. They can include differences in genes that    10          A. As far as I recall -- let's see -- 20- --
11   are expressed. They can include chromosomal         11      with -- I would say three to six years ago.
12   differences. They can include -- that nature.       12          Q. What hospital or medical practice were you
13      Q. Okay. When you say "females with              13      affiliated with when you were treating these two
14   differences in sex development," this is not those  14      patients?
15   patients that have undergone gender-affirming care; 15                MR. McKAY: Object to form.
16   is that correct?                                    16      BY MS. PARSONS:
17      A. That's correct.                               17          Q. Let me -- let me try again. I'll ask --
18      Q. Do you treat men of any kind?                 18      I'll try to ask you a clearer question.
19      A. Can you clarify?                              19              Where did you work when you were treating
20      Q. Do you have any patients who are men?         20      these two patients?
21      A. How are you defining "men"?                   21                MR. McKAY: I don't think she's ever
22      Q. Well, I'll say that their gender assigned     22      said there were two patients. That was the
23   at birth was male.                                  23      objection, if you're trying to clarify.
24      A. I'm -- I guess I'm just not understanding     24      BY MS. PARSONS:
25   the question. If you could clarify. I don't know    25          Q. I'll ask the question again. I think I

                                                                                                5 (Pages 14 - 17)
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 1   asked the question. I think I got an answer, but     1       Q. How about the second patient? Had that
 2   let me -- let me just make sure so the record's      2   patient ever undergone gender-affirming care?
 3   clear.                                               3       A. I can't recall.
 4          So, Dr. Thompson, first sentence of           4       Q. Both of those patients that we were
 5   paragraph 15, which reads, "I have treated patients 5    referring to in paragraph 15, were they -- were
 6   who identify as transgender in the context of        6   they pregnant at the time you were treating them?
 7   pregnancy and birth."                                7       A. They were.
 8          Did I read that right?                        8       Q. And did each of them have a live birth?
 9       A. Yes.                                          9       A. The one I know of, yes. The other one
10       Q. And how many patients were you referring to 10    was -- care was taken over by their private
11   in that sentence of the first -- of paragraph 15?   11   physician.
12       A. So there are patients who have disclosed     12       Q. Dr. Thompson, do you plan to serve any
13   it, but I can't speak to the number of patients who 13   supplemental expert report in this case?
14   have not disclosed it. The patients who have        14       A. I'm sorry. Can you clarify?
15   disclosed it are two.                               15       Q. Are you -- are you working on or do you
16       Q. Okay. How many patients have disclosed to 16      have plans to serve any other written reports in
17   you that they identify as transgender in the        17   this case?
18   context of pregnancy and birth that you were        18       A. Not to my knowledge.
19   treating?                                           19       Q. I'd like to take a look at your CV that you
20       A. At the time?                                 20   attached to your expert report, which is Exhibit 1.
21       Q. Yes.                                         21   I'll direct us to -- I think it's page 72 of the
22       A. Two.                                         22   PDF, but I've got it up on the screen here.
23       Q. Okay. Are there any others that you're       23          Do you see what I'm showing you on the
24   familiar with or that you're referring to that I'm  24   screen --
25   not asking about specifically?                      25       A. Yeah.
                                                Page 19                                                      Page 21
 1      A. Oftentimes patients have discomfort            1      Q. -- for Exhibit 1?
 2   disclosing their gender identity, and I am not       2      A. Yes.
 3   aware of other patients who I may have treated that 3       Q. Does this look like a copy of the
 4   have identified as a gender minority who didn't      4   curriculum vitae that you attached to your expert
 5   want to disclose it for whatever reason. So I        5   report in this case last May?
 6   can't speak to that.                                 6      A. Yes.
 7      Q. All right. So when you wrote this sentence     7      Q. I know this was about a year ago. The
 8   in paragraph 15 of your expert report, when you say 8    first -- the first page that I'm showing you -- I
 9   "I have treated patients who identify as             9   guess it's PDF page 72 of Exhibit 1 -- is this
10   transgender in the context of pregnancy and birth," 10   still your present academic rank and position?
11   you're referring specifically to those two patients 11      A. That's correct.
12   that disclosed it to you, right?                    12      Q. Okay. So you are an OB hospital -- OB
13      A. The ones who disclosed it to me, that's       13   hospitalist at the Mayo Clinic Department of
14   correct.                                            14   Obstetrics and Gynecology in Rochester, Minnesota?
15      Q. And those two patients, each of them were 15          A. Yes. And I also cover -- the OB
16   sex-at-birth female; is that correct?               16   Hospitalist Group covers other hospitals around the
17      A. Correct.                                      17   country, and I provide care in those sites as
18      Q. And let's take them one at a time. So the     18   well -- have provided, yes.
19   first patient. Do you have that patient in your     19      Q. Has anything changed about your current
20   mind?                                               20   employment as it pertains to your curriculum vitae
21      A. In my mind, yes.                              21   that you attached to your expert report about a
22      Q. All right. And that patient, had that         22   year ago?
23   patient ever undergone any gender-affirming care, 23        A. No.
24   to your knowledge?                                  24      Q. I'm going to talk about your educational
25      A. I can't recall.                               25   background, so I'm going to scroll down here to the

                                                                                               6 (Pages 18 - 21)
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 1    second page of your CV. There's a section titled         1   was gender identity disorder. That definition was
 2    "Education."                                             2   changed in 2013 to gender dysphoria.
 3          Do you see that?                                   3      Q. I'm sorry. I think maybe my internet cut
 4       A. Yes.                                               4   out a little bit. I'm just going to ask that
 5       Q. Okay. So you -- you did your undergrad at          5   question again because I didn't hear your full
 6    the University of Utah? No. University of                6   answer.
 7    Wisconsin. I'm sorry.                                    7      A. Okay.
 8       A. At University Wisconsin-Madison, yes.              8      Q. When you were in medical school, did you do
 9       Q. Okay. During your undergrad studies, did           9   any -- any study of gender dysphoria?
10    you complete any coursework on psychology?              10      A. So at the time I was in medical school, the
11       A. Psychology?                                       11   DSM-IV had the diagnosis of gender identity
12       Q. Mm-hmm.                                           12   disorder. After I completed medical school is when
13       A. No.                                               13   the DSM-5 changed the definition to gender
14       Q. Psychiatry?                                       14   dysphoria.
15       A. As an undergraduate?                              15      Q. I understand. Thanks for the
16       Q. Yep.                                              16   clarification.
17       A. Psychiatry is a branch of -- it's a field         17          So when you were in medical school, did you
18    of medical specialty. So that wouldn't -- I didn't      18   do any study about gender identity disorder, as it
19    have any psychiatry training as an undergraduate.       19   was named at the time?
20       Q. Okay. Did you have any classes where you          20      A. There was a psychiatry requirement for
21    learned anything about gender dysphoria?                21   obtaining the medical degree and that fell in with
22       A. At UW-Madison?                                    22   the psychiatry portion of the training in medical
23       Q. Right.                                            23   school.
24       A. No.                                               24      Q. Okay. So can you describe, you know,
25       Q. All right. And then you went on to get            25   what -- was that one class during a semester, or
                                                    Page 23                                                       Page 25
  1   your medical degree from the University of Utah          1   was that a particular -- can you describe the
  2   School of Medicine; is that right?                       2   extent of that training?
  3      A. That's correct.                                    3      A. So the curriculum in the first two years is
  4      Q. Okay. I'm sorry. I think -- I think I              4   classroom instruction. And we did have a portion
  5   might have led you astray there.                         5   of education in the field of psychiatric specialty
  6         After -- after you went -- got your                6   in that component of the curriculum. And then for
  7   undergrad at Wisconsin, what was the next degree         7   the clinical years, there was a requirement to
  8   you got?                                                 8   treat -- to be on the wards with the clinical
  9      A. That was the MPH at Yale.                          9   service within psychiatry.
 10      Q. Okay. And during your MPH at Yale, did you        10      Q. So you -- you did coursework in a
 11   do any studies there on -- on psychology?               11   classroom, and you did clinic work at a practice;
 12      A. No.                                               12   is that fair?
 13      Q. Did you have any coursework on gender             13      A. To complete the curriculum, yes, to obtain
 14   dysphoria?                                              14   the medical degree.
 15      A. No.                                               15      Q. So after medical school, you went on to --
 16      Q. Okay. After you obtained your MPH, then           16   I think on your CV it calls it a medical fellow at
 17   you went to medical school?                             17   the University of Minnesota; is that right?
 18      A. Correct.                                          18      A. That's correct.
 19      Q. Okay. And in medical school, did you have         19      Q. Okay. Is that -- this is just my lack of
 20   any training on psychology or psychiatry?               20   understanding, but is that -- is that akin to a
 21      A. So there's a psychiatry education component       21   residency or is that a fellowship?
 22   to the curriculum, that's correct.                      22      A. It's a residency.
 23      Q. And did you do any study of gender                23      Q. Okay. All right. During -- during your
 24   dysphoria in medical school?                            24   residency at the University of Minnesota, what kind
 25      A. At the time, the diagnosis in the DSM-IV          25   of practice did you have from 2004 to 2008?

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 1      A. So that followed the standard residency       1         A. It was to optimize postcesarean opioid
 2   requirements to complete the specialty training in  2      prescription practices.
 3   obstetrics and gynecology. So that included         3         Q. All right. And you aren't relying in any
 4   clinical coursework. It included didactic           4      way on this publication for purposes of issuing
 5   training. It included, you know, work in the        5      your expert opinions in this case, are you?
 6   hospitalized setting, taking care of medical and    6         A. No.
 7   surgical patients and performing surgical           7         Q. This one is from 2020. Can you still see
 8   procedures.                                         8      my screen?
 9      Q. During that residency, did you complete any 9           A. Yes.
10   specialized training for -- for people diagnosed   10         Q. Okay. This one's from 2020. And the title
11   with gender dysphoria?                             11      of this one -- this is the MOGGE Foundation
12      A. Specialized training? No.                    12      practice guidelines for prelabor rupture of
13      Q. Any training?                                13      membranes.
14      A. Again, at the time, the diagnos- -- the      14            Do you see that?
15   diagnostic category was -- was gender identity     15         A. Yes.
16   disorder. It wasn't gender dysphoria.              16         Q. This paper, like the first one, not --
17      Q. Okay. But during your medical residency      17      directed to the treatment of gender dysphoria; is
18   from 2004 to 2008, were you aware of treating any 18       that fair?
19   patients that had gender identity disorder?        19         A. It is specifically regarding prelabor
20      A. I can't recall.                              20      rupture of membranes.
21      Q. All right. On your CV you also list some     21         Q. Okay. And you didn't -- you haven't relied
22   peer-reviewed papers that you've authored. I want 22       on this publication in any way to support your
23   to look at those next.                             23      expert opinions in this case; is that fair?
24         All right. I have them up on the screen.     24         A. Could you explain?
25   These come from page -- the last page of your CV 25           Q. Sure. You haven't -- you haven't cited
                                                 Page 27                                                      Page 29
 1   and your expert report, which is Exhibit 1. Do you     1   this publication in particular to support any of
 2   see them up on the screen, Dr. Thompson?               2   your expert opinions in this case; is that fair?
 3      A. I do.                                            3       A. In terms of citation? No, I have not cited
 4      Q. Okay. So there's four publications listed        4   this study, no.
 5   here. I want to look at them one at a time.            5       Q. Did your work on the prelabor rupture of
 6         So the first one, the title is "Optimizing       6   membranes have any impact in you formulating your
 7   Post-Cesarean Opioid Prescription Practices at         7   expert opinions in this case.
 8   Mayo Clinic: A Quality Improvement Initiative."        8            MR. McKAY: Object to form.
 9         Do you see that?                                 9       A. I'm sorry. Can you explain again the
10      A. Yes.                                            10   question?
11      Q. And that was in 2022 you published that?        11       Q. Just trying to understand if the work you
12      A. Yes, that's when it was published.              12   did to support your peer-reviewed article of
13      Q. Does this -- this publication is unrelated      13   prelabor rupture of membranes does anything to
14   to gender dysphoria and treatment of those with       14   support your expert opinions about fertility
15   gender dysphoria; is that fair?                       15   considerations for gender-affirming care in
16           MR. McKAY: Object to form.                    16   adolescents in this case?
17           And you can always answer the question        17       A. There's much we do not know about female
18   unless I instruct you not to answer, Dr. Thompson.    18   patients who receive medications consistent within
19           THE WITNESS: Okay. Okay.                      19   the definition of gender-affirming care, especially
20      A. You know, again, as I mentioned earlier,        20   if they carry pregnancies.
21   you know, many patients don't feel comfortable        21          In this specific case, it very well could
22   disclosing their gender identity status, so I can't   22   have relevance to the treatment of individuals with
23   speak to that.                                        23   gender dysphoria who receive both GnRH analogs and
24      Q. The purpose of that paper was not trying to     24   testosterone. And that's why I can't really say
25   understand gender dysphoria better, was it?           25   that it wouldn't be relevant.

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  1       Q. You haven't issued any written opinions in       1            due to distorted/muted audio.)
  2   this report, Exhibit 1, that relies specifically on     2      Q. Doctor, did you hear the question?
  3   this paper; is that fair?                               3      A. I did, yes. Thanks.
  4       A. I have not cited this paper in my report.        4          I have not given specific presentations
  5       Q. Okay. Let's look at your third                   5   regarding gender dysphoria. But I'm not a mental
  6   peer-reviewed article, also published in 2020.          6   health provider.
  7   This one titled, "Creating a model to predict time      7      Q. Dr. Thompson, what -- what training or
  8   intervals from induction of labor to induction of       8   experience do you rely on to offer expert opinions
  9   anesthesia and delivery to coordinate workload."        9   in this case about the fertility considerations for
 10          Do you see that?                                10   gender-affirming care for adolescents?
 11       A. Yes.                                            11      A. So I rely on my training and education as
 12       Q. This paper does not involve the study of        12   an obstetrician-gynecologist who is board
 13   gender dysphoria, fair?                                13   certified.
 14       A. It specifically looks at -- you know, the       14      Q. Anything else?
 15   management of labor and providing analgesia to         15      A. As well as keeping up with the literature.
 16   patients.                                              16            MS. PARSONS: Okay. I don't have any
 17       Q. And the last peer-reviewed article listed       17   further questions for Dr. Thompson, so I'll pass
 18   on your CV, which is attached to Exhibit 1 of this     18   the witness.
 19   deposition, was a paper from 2005, and this one's      19            MR. McKAY: And if we could get just a
 20   titled "Differences Between Hospitals in Cesarean      20   five-minute break, I don't anticipate having much
 21   Rates for Term Primigravidas with Cephalic             21   either, if anything.
 22   Presentation."                                         22            MS. PARSONS: Sure, we can go off the
 23          Is that right?                                  23   record.
 24       A. That's correct.                                 24            MR. McKAY: All right. Thank you.
 25       Q. And that paper also does not appear to be       25            (Break: 9:44 a.m. to 9:52 a.m.))
                                                   Page 31                                                     Page 33
  1   directed to the treatment of gender dysphoria,       1                     EXAMINATION
  2   fair?                                                2      BY MR. McKAY:
  3      A. It specifically studies the differences        3         Q. Earlier, counsel asked you about your
  4   between cesarean rates.                              4      research on obstetrics and gynecology. Do you
  5      Q. All right. I'd like to look on your CV.        5      remember that?
  6   You also have some presentations.                    6         A. I do.
  7      A. Yes.                                           7         Q. And could you explain how research on
  8      Q. Dr. Thompson, do you see the list of           8      pregnancy complications is relevant to your
  9   presentations?                                       9      opinions on gender-affirming care?
 10      A. Yes, sorry. Sorry. My audio isn't             10              MS. PARSONS: Objection. Outside the
 11   working. Yes.                                       11      scope of direct.
 12      Q. Do you have any other additional              12      BY MR. McKAY:
 13   presentations or anything to add to your CV as you 13          Q. You can answer, Dr. Thompson.
 14   sit here today?                                     14         A. So at present, there are no long-term or
 15      A. Not that I recall.                            15      even, really, short-term data about some of the
 16      Q. Okay. And just going back to your             16      pregnancy outcomes and risks to the uterus and
 17   peer-reviewed articles, have you issued any other 17        subsequent pregnancy to individuals who have been
 18   peer-reviewed articles since the CV was published a 18      exposed to GnRHa analogs and testosterone.
 19   year ago?                                           19            We do know, and what I have put in my
 20      A. Not that I recall.                            20      report, that females who have been exposed to
 21      Q. Okay. Just looking at this list that I've     21      testosterone at the doses used to achieve
 22   got up here of presentations from your CV, have     22      gender-affirming care in these individuals -- so
 23   you -- have you given any presentations about the 23        trans men who have received testosterone at these
 24   treatment of gender dysphoria?                      24      doses -- it has been shown that they're at
 25           (Court reporter requested clarification     25      increased risk for hypertension.

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                                                           1              REPORTER'S CERTIFICATE
  1         And it is unknown if that hypertensive risk    2
  2   is going to remain as a chronic state. And if              STATE OF MINNESOTA )
                                                           3              ) ss.
  3   entering a pregnancy with -- and if these                  COUNTY OF HENNEPIN )
  4   individuals choose to become pregnant -- and I'm     4
                                                                      I hereby certify that I reported the remote
  5   speaking specifically about trans men who have       5     deposition of Angela Thompson, on May 2, 2024, and
  6   already undergone a stage of development where             that the witness was by me first duly affirmed to
                                                           6     tell the whole truth;
  7   their gametes are mature and then receiving          7          That the testimony was transcribed by me and
  8   testosterone. But we do not know if -- if that             is a true record of the testimony of the witness;
                                                           8
  9   hypertensive risk is going to remain.                          That the cost of the original has been
                                                           9     charged to the party who noticed the deposition,
 10         And if they enter pregnancy or choose to             and that all parties who ordered copies have been
 11   become pregnant at any time with that background 10        charged at the same rate for such copies;
                                                          11         That I am not a relative or employee or
 12   risk of chronic hypertension, that's -- we know any        attorney or counsel of any of the parties, or a
 13   pregnant patient who has chronic hypertension       12     relative or employee of such attorney or counsel;
                                                          13         That I am not financially interested in the
 14   entering pregnancy is a much higher risk of                action and have no contract with the parties,
 15   developing very serious conditions, such as         14     attorneys, or persons with an interest in the
                                                                 action that affects or has a substantial tendency
 16   preeclampsia with severe features, placental        15     to affect my impartiality;
                                                          16         That the right to read and sign the
 17   abruption, fetal growth restriction.                       deposition by the witness was preserved.
 18         And so it is concerning that the              17
                                                          18       WITNESS MY HAND AND SEAL THIS 6th day of
 19   testosterone that is given to individuals could            May, 2024.
 20   play a part in increasing their perinatal risks.    19
                                                          20
 21      Q. Thank you, Dr. Thompson. I have no more 21
 22   questions.                                          22
                                                          23          <%17950,Signature%>
 23               FURTHER EXAMINATION                                 Merilee S. Johnson, RDR, CRR, CRC, RSA
 24   BY MS. PARSONS:                                     24          Notary Public, Hennepin County, Minnesota
                                                                      My commission expires January 31, 2026
 25      Q. Just one follow-up. Dr. Thompson, the long 25
                                                   Page 35                                                                 Page 37
  1   narrative you just gave, that's -- your information     1 Charles McKay, Esq.
  2   is purely based on reading the literature and not       2 Charles.McKay@AlabamAG.gov
  3   treating patients in your clinical experience; is       3                        May 6, 2024
  4   that fair?                                              4 RE: Eknes-Tucker, Rev. Paul A. v. Marshall, Steve
  5            MR. McKAY: Object to form.                     5     5/2/2024, Angela Thompson , M.D. (#6684648)
  6      A. I -- can you -- can you clarify? I do             6     The above-referenced transcript is available for
  7   treat patients with chronic hypertension.               7 review.
  8      Q. Right. But you've already testified today         8     Within the applicable timeframe, the witness should
  9   that you've never -- you've never treated anyone        9 read the testimony to verify its accuracy. If there are
 10   with gender-affirming care, right?                     10 any changes, the witness should note those with the
 11      A. Personally, no. That's correct.                  11 reason, on the attached Errata Sheet.
 12            MS. PARSONS: No further questions.            12     The witness should sign the Acknowledgment of
 13            MR. McKAY: No questions from me.              13 Deponent and Errata and return to the deposing attorney.
 14            MS. MURPHY: No questions from me              14 Copies should be sent to all counsel, and to Veritext at
 15   either.                                                15 cs-southeast@veritext.com
 16            MS. PARSONS: Thank you for your time          16 Return completed errata within 30 days from
 17   today, Dr. Thompson.                                   17 receipt of testimony.
 18            Thanks, everyone.                             18 If the witness fails to do so within the time
 19            MR. McKAY: And we would like to read          19 allotted, the transcript may be used as if signed.
 20   and sign the deposition transcript. And if we can      20
 21   get it expedited as well. By Monday.                   21
 22            MS. PARSONS: Regular delivery.                22            Yours,
 23            MS. MURPHY: Yeah, we'd like a copy            23            Veritext Legal Solutions
 24   too, please. Regular.                                  24
 25            (Time Noted: 10:03 a.m., May 2, 2024.)        25

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  3            ERRATA SHEET
  4 PAGE_____ LINE_____ CHANGE________________________
  5 __________________________________________________
  6 REASON____________________________________________
  7 PAGE_____ LINE_____ CHANGE________________________
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 10 PAGE_____ LINE_____ CHANGE________________________
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 20 __________________________________________________
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 22
 23 ________________________________ _______________
 24 Angela Thompson, M.D.                   Date
 25

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  2 Angela Thompson, M.D. (#6684648)
  3           ACKNOWLEDGEMENT OF DEPONENT
  4    I, Angela Thompson , M.D., do hereby declare that I
  5 have read the foregoing transcript, I have made any
  6 corrections, additions, or changes I deemed necessary as
  7 noted above to be appended hereto, and that the same is
  8 a true, correct and complete transcript of the testimony
  9 given by me.
 10
 11 ______________________________           ________________
 12 Angela Thompson, M.D.                 Date
 13 *If notary is required
 14             SUBSCRIBED AND SWORN TO BEFORE ME THIS
 15             ______ DAY OF ________________, 20___.
 16
 17
 18             __________________________
 19             NOTARY PUBLIC
 20
 21
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                   Federal Rules of Civil Procedure

                                   Rule 30



      (e) Review By the Witness; Changes.

      (1) Review; Statement of Changes. On request by the

      deponent or a party before the deposition is

      completed, the deponent must be allowed 30 days

      after being notified by the officer that the

      transcript or recording is available in which:

      (A) to review the transcript or recording; and

      (B) if there are changes in form or substance, to

      sign a statement listing the changes and the

      reasons for making them.

      (2) Changes Indicated in the Officer's Certificate.

      The officer must note in the certificate prescribed

      by Rule 30(f)(1) whether a review was requested

      and, if so, must attach any changes the deponent

      makes during the 30-day period.




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      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

      2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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  documents as submitted by the court reporter and/or

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